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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )   Adv. Pro. No. 21-03003 (SGJ)
                                                                        )
JAMES D. DONDERO,                                                       )
                                                                        )
                              Defendant.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 17, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Debtor's Unopposed Motion for Leave to Serve and File Amended Complaint
          [Docket No. 73]


Dated: August 20, 2021
                                                      /s/ Hannah Bussey
                                                      Hannah Bussey
                                                      KCC
                                                      Meidinger Tower
                                                      462 South 4th Street
                                                      Louisville, KY 40202


1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                          Exhibit A
                                                    Adversary Service List
                                                   Served via Electronic Mail


           Description                 CreditorName               CreditorNoticeName                       Email
                                                                                           john@bondsellis.com;
                                                             John Y. Bonds, III, John T.   john.wilson@bondsellis.com;
                                                             Wilson, IV, Bryan C. Assink,  bryan.assink@bondsellis.com;
                                  Bonds Ellis Eppich Schafer Clay M. Taylor, William R.    clay.taylor@bondsellis.com;
Counsel for James Dondero         Jones LLP                  Howell, Jr.                   william.howell@bondsellis.com
Financial Advisor to Official                                Earnestiena Cheng, Daniel H Earnestiena.Cheng@fticonsulting.com;
Committee of Unsecured Creditors FTI Consulting              O'Brien                       Daniel.H.O'Brien@fticonsulting.com
                                                             Melissa S. Hayward, Zachery MHayward@HaywardFirm.com;
Counsel for the Debtor            Hayward & Associates PLLC Z. Annable                     ZAnnable@HaywardFirm.com
Counsel for UBS Securities LLC                               Andrew Clubok, Sarah          andrew.clubok@lw.com;
and UBS AG London Branch          Latham & Watkins LLP       Tomkowiak                     sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC                               Asif Attarwala, Kathryn K.    asif.attarwala@lw.com;
and UBS AG London Branch          Latham & Watkins LLP       George                        Kathryn.George@lw.com
Counsel for UBS Securities LLC                               Jeffrey E. Bjork, Kimberly A. jeff.bjork@lw.com;
and UBS AG London Branch          Latham & Watkins LLP       Posin                         kim.posin@lw.com
Counsel for UBS Securities LLC                                                             Zachary.Proulx@lw.com;
and UBS AG London Branch          Latham & Watkins LLP       Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
                                                                                           mclemente@sidley.com;
                                                             Matthew Clemente, Alyssa      alyssa.russell@sidley.com;
Counsel for Official Committee of                            Russell, Elliot A. Bromagen,  ebromagen@sidley.com;
Unsecured Creditors               Sidley Austin LLP          Dennis M. Twomey              dtwomey@sidley.com
                                                                                           preid@sidley.com;
                                                             Penny P. Reid, Paige Holden pmontgomery@sidley.com;
Counsel for Official Committee of                            Montgomery, Juliana Hoffman, jhoffman@sidley.com;
Unsecured Creditors               Sidley Austin LLP          Chandler M. Rognes            crognes@sidley.com
                                                             Deborah Deitsch-Perez,        deborah.deitschperez@stinson.com;
Counsel for James Dondero         Stinson LLP                Michael P. Aigen              michael.aigen@stinson.com




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                             EXHIBIT B
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                                                                         Exhibit B
                                                                   Adversary Service List
                                                                 Served via First Class Mail

             Description                   CreditorName                 CreditorNoticeName               Address1               City     State    Zip
                                                                   John Y. Bonds, III, John T.
                                                                   Wilson, IV, Bryan C. Assink,
                                    Bonds Ellis Eppich Schafer     Clay M. Taylor, William R.    420 Throckmorton Street,
  Counsel for James Dondero         Jones LLP                      Howell, Jr.                   Suite 1000                 Fort Worth   TX      76102
  Counsel for UBS Securities LLC                                   Andrew Clubok, Sarah          555 Eleventh Street, NW,
  and UBS AG London Branch          Latham & Watkins LLP           Tomkowiak                     Suite 1000                 Washington   DC      20004
  Counsel for UBS Securities LLC                                   Asif Attarwala, Kathryn K.    330 North Wabash
  and UBS AG London Branch          Latham & Watkins LLP           George                        Avenue, Ste. 2800          Chicago      IL      60611
  Counsel for UBS Securities LLC                                   Jeffrey E. Bjork, Kimberly A. 355 S. Grand Ave., Ste.
  and UBS AG London Branch          Latham & Watkins LLP           Posin                         100                        Los Angeles CA       90071
  Counsel for UBS Securities LLC                                                                 1271 Avenue of the
  and UBS AG London Branch          Latham & Watkins LLP           Zachary F. Proulx, Jamie Wine Americas                   New York     NY      10020
                                                                   Deborah Deitsch-Perez,        3102 Oak Lawn Avenue,
  Counsel for James Dondero         Stinson LLP                    Michael P. Aigen              Suite 777                  Dallas       TX      75219




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